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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                   :
   Greg Matus, on behalf of himself and all others :
                                                              Case No.
   similarly situated,                             :
                                                   :
                          Plaintiff,               :
   vs.                                             :
                                                   :
   Sport Squad, Inc. d/b/a Joola,                  :
                                                   :
                          Defendant.               :

                                 CLASS ACTION COMPLAINT

         Plaintiff Gregory Matus, through counsel, brings this action in his individual capacity and

  on behalf of the class of persons similarly situated as defined below and alleges, pursuant to his

  own knowledge, or where there is no personal knowledge, upon the investigation of counsel and/or

  upon information and belief, as follows:

                                         INTRODUCTION

         1.      This action seeks to recover damages incurred as the result of a deceptive and

  fraudulent scheme conduct by Defendant Sport Squad, Inc. d/b/a JOOLA (“JOOLA”) wherein

  JOOLA developed, marketed, and sold pickleball paddles with the express warranty that the

  paddles were approved by USA Pickleball (“USAP”), the National Governing Body for the sport

  of pickleball in the United States and provides players with official rules, tournaments, rankings,

  and promotional materials.

         2.      The paddles at issue include the: Tyson McGuffin Magnus 3 14mm, Tyson

  McGuffin Magnus 3 16mm, Collin Johns Scorpeus 3 16mm, Anna Bright Scorpeus 3 14mm,

  Simone Jardim Hyperion 3 16mm, Ben Johns Hyperion 3 16mm, Ben Johns Hyperion 3 14mm,

  Ben Johns Perseus 3 14mm, Ben Johns Perseus 3 16mm, Perseus Alpha 2024 16mm, Perseus

  Alpha 2024 14mm, Magnus Alpha 2024 16mm, Magnus Alpha 2024 14mm, Hyperion Alpha 2024



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  16mm, Hyperion Alpha 2024 14mm, Scorpeus Alpha 2024 16mm, and the Scorpeus Alpha 2024

  14mm (“Subject Paddles”).




         3.     Since obtaining USAP Approval in November 2023, Defendant, JOOLA, has sold

  the Subject Paddles to tens of thousands of consumers for $279.95 per paddle.

         4.      On May 14 and 15, Joola informed USA Pickleball that Joola submitted the wrong

  paddles for certification in November 2023.

         5.     On May 16, 2024, USAP removed the Subject Paddles from the approval list.

  Shortly thereafter, JOOLA issued a statement indicating that the Subject Paddles had been

  removed due to an “administrative error” made by JOOLA during the testing process in 2023.

         6.     As a result, despite Defendant’s representations to the contrary, the paddles are not

  permitted to be used in sanctioned or non-sanctioned, professional or amateur USA Pickleball

  sanctioned tournaments throughout the United States.




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         7.         Even though the paddles are no longer approved by USAP, Defendant JOOLA

  continues to sell and deliver the paddles with the “USA Pickleball Approved” designation

  imprinted on each paddle.




         8.         Defendant’s systematic business practice of advertising and selling “USA

  Approved” paddles has resulted in Plaintiff and Class Members lacking information and receiving

  misleading information about the true condition, permitted use, approvals, and value of the

  paddles, which was likely to mislead and did mislead reasonable consumers, including Plaintiff

  and Class Members.

         9.         Plaintiff, on his own behalf and on behalf of those similarly situated, seeks to enjoin

  the practices complained of herein and asks that the Court order the Defendant JOOLA to refund

  to all Class members, including Plaintiff, money paid in connection with the purchase of each

  subject paddle.

         10.        In a quintessential bait and switch scheme designed to make money by unfairly

  monopolizing the pickleball market, JOOLA submitted paddles that they knew would be approved

  while simultaneously manufacturing the Subject Paddles.

                                             JURISDICTION

         11.        The federal jurisdiction exists pursuant to 28 U.S.C. § 1332(d)(2)(A) as the amount

  in controversy exceeds the sum of $5,000,000, exclusive of interest and costs, the number of class

  members exceed 5,000, and at least one class member is a citizen of a state different than the

  Defendant.




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          12.     Personal jurisdiction over Defendant is proper because Defendant regularly

  conducts business in Florida, sold the subject paddles in Florida to Plaintiff and other Class

  Members, and engaged in tortious conduct in Florida. This purposeful availment renders the

  exercise of jurisdiction by this Court over Defendant is permissible under traditional notions of

  fair play and substantial justice.

          13.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because numerous of

  Class Members reside in this District; Defendant engaged in business in this District; a substantial

  part of the events or omissions giving rise to the claims at issue occurred in this District; and

  because Defendant entered into transactions and/or received substantial profits from Class

  Members who reside in this District.

                                              PARTIES

          14.     Plaintiff, Greg Matus (“Plaintiff”), is an individual over the age of 18 years old

  residing in Fort Lauderdale, Florida. Plaintiff competed in the Minto US Open Pickleball

  Championships in Naples, Florida in April 2024. On April 17, 2024, Plaintiff purchased two of

  the Subject Paddles for $296.75 each. Plaintiff then returned home and began training with the

  Subject Paddles in preparation for his next USAP sanctioned event.

          15.     Defendant, JOOLA, is a Delaware corporation with its principal place of business

  located at 15800 Crabbs Branch Way, Suite 250, Rockville, Maryland 20855. Defendant is a

  leader in the design, development, manufacture, and distribution of pickleball paddles and

  accessories under its recognized brand name JOOLA.




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                                        FACTUAL ALLEGATIONS

          16.      The sport of Pickleball has become overwhelmingly popular with a 52% increase

  in participants from 2022 to 2023. Over the last three years, there has been an average increase of

  223.5% in pickleball participation, making it the fastest-growing sport in America.

          17.      USAP has been the National Governing Body for the sport of pickleball in the

  United States since 1984 with a mission of promoting the development and growth of pickleball

  in the United States and its territories. The nonprofit organization is responsible for developing

  and implementing the official rules of pickleball.

          18.      In furtherance of its mission, USAP established the Equipment Evaluation

  Committee (“EEC”) to develop pickleball equipment testing standards. The EEC works directly

  with NTS Technical Systems—the undisputed leader in equipment testing, inspection, and

  certification—to ensure that all USA Pickleball approved equipment meets rigorous standards to

  ensure a level playing field for players and manufacturers.

          19.      As is customary in the industry, JOOLA submitted each of the Subject Paddles to

  USAP for approval in late 2023 after which time, the Subject Paddles were approved for use in

  USAP sanctioned events.

          20.      On May 16, 2024, after six months of permitted, sanctioned play with the Subject

  Paddles, USAP released the following statement: 1

          To our valued USA Pickleball community --

          As pickleball’s governing body in the United States, USA Pickleball takes its
          certifications, rules and regulations seriously to ensure integrity and fairness for all
          players.

          On May 14 and 15, JOOLA informed USA Pickleball that JOOLA submitted the
          wrong paddles for certification in November 2023. As a result, USA Pickleball

  1
    https://usapickleball.org/news/usa-pickleball-statement-on-decertified-JOOLA-paddles-and-equipment-testing-
  standards/




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            promptly de-listed the affected paddles from its Approved Paddle list. Paddles that
            do not appear on USA Pickleball’s Approved Paddle list are not certified for use in
            USA Pickleball-sanctioned tournaments.

            Since de-listing, JOOLA has informed USA Pickleball that it intends to submit
            additional paddles to USA Pickleball for certification. USA Pickleball utilizes a
            third-party testing facility that holds approved equipment to an extremely rigorous
            process and the highest testing standards and will evaluate those submissions for
            compliance with USA Pickleball’s equipment standards.

            USA Pickleball will continue to evaluate paddles in the market in order to ensure
            our existing set of standards are being met. For a full list of approved paddles,
            visit www.equipment.usapickleball.org.

            21.     News of the de-certification of the Subject Paddles sent shockwaves through the

  pickleball community, causing panic for players registered to compete as both amateurs and

  professionals in USAP sanctioned events.

            22.     On May 16, 2024, JOOLA issued the following statement in response to USAP’s

  decertification of the Subject Paddles: 2

            On May 15, 2024, JOOLA was informed by USA Pickleball (USAP) of their
            decision to remove the Gen3 paddles from the Approved Paddle list. After a review
            of USAP’s preliminary findings last week, we believe USAP’s decision to remove
            the Gen3 paddles from the approved list was based on an administrative error by
            JOOLA in November 2023 as part of USAP’s similarity testing protocols. JOOLA
            was only able to confirm the precise issue last week and responded immediately to
            quickly resolve the matter.

            The JOOLA Gen3 paddles on the market are materially the same as the models
            approved by USAP in the September 2023 paddle submission process and we are
            confident that they are fully compliant with USAP’s standards.

            Since entering the pickleball community in 2022, JOOLA has consistently and
            successfully worked within the USAP standards and process to approve over 40
            paddles currently being used around the world.

            USAP has not provided a timeline of when the process will be completed, however
            we are committed to working with USAP to resolve this matter as quickly as
            possible. We will continue to inform you as new information becomes available
            and regret any inconvenience.


  2
      https://JOOLAusa.com/official-JOOLA-statement-as-of-may-16-2024/




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         23.     On May 24, 2024, JOOLA issued an Official Update stating:

         We want to keep our customers and partners updated on the progress with USA
         Pickleball (USAP) regarding our Gen3 paddles being reinstated to the Approved
         Paddles list. Our goal is to minimize disruption and reach a resolution on the issue
         for our customers, partners, and the pickleball community.

         Immediately upon being informed of USAP’s decision to remove its Gen3 paddles
         from the Approved Paddles list on May 15, 2024, we have worked quickly and
         meticulously to follow the guidelines as presented by USAP to recertify our Gen3
         paddles. We want to acknowledge that the de-listing was due to an incorrect
         submission by JOOLA as part of the similarity testing protocols. We emphasize our
         confidence that the Gen3 paddles are compliant with USAP standards.

         On May 17, 2024, we re-filed our Gen3 paddles for expedited testing and confirmed
         all relevant paperwork and paddles were received by USAP. Despite processing our
         expedited testing fee payment last week, we received a communication from USAP
         earlier today (May 24, 2024), informing us they were unable to expedite testing and
         are not able, at this point, to provide confirmation regarding the timeline of when
         the testing process will be completed.

         JOOLA firmly maintains that the Gen3 paddles on the market are materially the
         same as models approved by USAP in September 2023 and looks forward to a
         resolution on the issue from USAP. We will continue to keep you informed and
         sincerely apologize for the inconvenience and confusion this has presented.

         24.     Immediately following the news of decertification, USAP sanctioned tournaments

  began informing their professional and amateur competitors that they would not be permitted to

  compete in the tournament using a Subject Paddle.

         25.     By way of example, following the USAP statement, South Florida’s Paddle Tap

  Pickleball issued a statement that they were “reaffirming [their] dedication to upholding the highest

  standards of fair play and competition by continuing to adhere strictly to USA Pickleball guidelines

  regarding approved paddles. Effective immediately, any paddles not listed on the official USA

  Pickleball approved paddle list will be banned from all Paddle Tap Pickleball tournaments and

  events.”




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             26.     It is no coincidence that the very same day as the May 16, 2024 announcement de-

  certifying the Subject Paddles, the United Pickleball Association (“UPA”)—the parent company

  of the Carvana PPA Tour (“PPA”) and Major League Pickleball (“MLP”) by Margaritaville—

  issued a press release announcing the formation of the United Pickleball Association of America

  (“UPA-A”) as the new “global pickleball governing body.” 3

             27.     The UPA-A was created to replace USAP as the governing body for safety

  standards in pickleball as “it will oversee and implement equipment standards, rules and

  regulations” for the PPA Tour and Major League Pickleball. Rather than comply with safety

  standards set by USAP’s independent consultant, NTS (the leading independent expert in testing

  and certification), “the new organization promises to create two manufacturer and player-led

  committees to provide actionable feedback on paddle regulations,” thus making safety

  manufacturer (and profit) driven rather than independently regulated. It should come as no surprise

  that Defendant JOOLA is a listed member of the inaugural Equipment Manufacturer Advisory

  Board of the UPA-A.

             28.     Because USAP officially remains the governing body of pickleball in the United

  States, despite the formation and self-announcement of UPA-A as the purported new governing

  global body of pickleball, the PPA itself issued a statement to participants registered to play in the

  May 29-June 2 PPA CIBC Texas Open, indicating that the Subject Paddles are not approved for

  play due to a discrepancy with USAP.

             29.     As time passes, tournaments continue to ban the use of the Subject Paddles, and

  Defendant JOOLA continues to sell the Subject Paddles with the USAP Approved branding, the

  damages of Plaintiff and Class Members continue to amass.



  3
      https://unitedpickleball.com/upa-a-announced-as-global-pickleball-governing-body/




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          30.      Notwithstanding, on May 24, 2024, USAP informed JOOLA that they “were unable

  to expedite testing and are not able, at this point, to provide confirmation regarding the timeline of

  when the testing process will be completed;” thus perpetuating this problem indefinitely while

  Defendant continues to knowingly misrepresent the characteristics, approvals, and uses of its

  Paddles.

          31.      On June 5, 2024, USA Pickleball issued an Updated Statement on the Subject

  Paddles stating,

          USA Pickleball recently de-listed certain paddles after JOOLA notified USA
          Pickleball that it had previously submitted the wrong paddles for certification (see
          USA Pickleball statement posted on May 16). JOOLA also informed USA
          Pickleball that it intended to submit additional paddles for certification.

          USA Pickleball received and tested the newly submitted paddles, which did not
          meet our approved equipment standards. As a result, these paddles have not been
          added to the USA Pickleball approved equipment list.

          As pickleball’s governing body in the United States, USA Pickleball takes its
          certifications, rules and regulations seriously to ensure integrity and fairness for all
          players.

          USA Pickleball utilizes a third-party testing facility that holds approved equipment
          to an extremely rigorous process and the highest testing standards and will evaluate
          those submissions for compliance with USA Pickleball’s equipment standards. For
          a      full   list    of      affected      and       approved      paddles,    visit
          www.equipment.usapickleball.org. 4

          32.      USAP further explained, “JOOLA only recently notified USA Pickleball that the

  paddles on the market are not the same paddle certified by USA Pickleball. As JOOLA explained,

  JOOLA submitted the wrong samples to USA Pickleball under an Application for Certification by

  Similarity process. That process involves, among other things, signed attestations by the




  4
    https://usapickleball.org/news/usa-pickleball-statement-on-decertified-joola-paddles-and-equipment-testing-
  standards/.




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  manufacturer that the samples are structurally and functionally identical to a previously approved

  paddle and comply with other equipment standards.

          33.      In addition to being officially banned for tournament play, it is widely known that

  recreational play also adheres to allowing only approved paddles in sanctioned and unsanctioned

  play, thereby presently rendering the JOOLA Subject Paddles completely worthless for any

  purpose.

                                    CLASS ACTION ALLEGATIONS

          34.      Plaintiff brings this case as a class action pursuant to Rule 23 of the Federal Rules

  of Civil Procedure on behalf of himself and all others similarly situated.

          35.      The classes’ claims all derive directly from the conduct of Defendant, JOOLA.

  Defendant has engaged in uniform and standardized conduct toward the classes. They did not

  differentiate, in degree of care or candor, their actions or inactions, or in the content of their

  statements or omissions, among individual class members. Within each claim for relief asserted

  by the respective classes, the same legal standards govern. Additionally, many states, and for some

  claims all states, share the same legal standards and elements of proof, facilitating the certification

  of multistate classes for some or all claims. Accordingly, Plaintiff brings this lawsuit as a class

  action on his own behalf and on behalf of all other persons similarly situated as members of the

  proposed class pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3) and/or (b)(2) and/or

  (c)(4). This action satisfies the numerosity, commonality, typicality, adequacy, predominance, and

  superiority requirements of those provisions.

     I.         Class Definitions

                                      THE NATIONWIDE CLASS

          36.      Plaintiff brings this action and seek to certify and maintain it as a class action under




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  Rules 23(a); (b)(2); and/or (b)(3); and/or (c)(4) of the Federal Rules of Civil Procedure on behalf

  of himself and a Nationwide Class defined as follows:

         All persons in the United States who purchased a Subject Paddle between
         November 2023 and the Present.

                         THE STATEWIDE/MUTLI-STATE SUBCLASSES

         37.     Plaintiffs bring this action and seek to certify and maintain it as a class action under

  Rules 23(a); (b)(2); and/or (b)(3); and/or (c)(4) of the Federal Rules of Civil Procedure on behalf

  of themselves and statewide and multi-state subclasses (hereafter, the “Subclass”) defined as:

         All persons in the states set forth in Table A below who purchased a Subject Paddle
         between November 2023 and the Present.

                                                  Table A
                            Colorado                  New Jersey
                            Connecticut               New Mexico
                            Florida                   New York
                            Hawaii                    Ohio
                            Idaho                     Tennessee
                            Illinois                  Vermont
                            Michigan                  Washington
                            New Hampshire             Maryland

         38.     The Nationwide Class and State/Multi-State Subclasses and their members are

  sometimes referred to herein as the “class” or “classes.”

         39.     Plaintiffs reserve the right to revise the definition of the classes based upon

  subsequently discovered information and reserve the right to establish sub-classes where

  appropriate.

         40.     Excluded from any class are Defendant, its employees, officers, directors, legal

  representatives, heirs, successors and wholly or partly owned subsidiaries or affiliates; class

  counsel and their employees; and judicial officers and their immediate family members and

  associated court staff assigned to this case.




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     II.         Rule 23 Allegations

                                       Numerosity and Ascertainability

           41.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). There are tens of

  thousands of Subject Paddles that have been sold nationwide. Individual joinder of all class

  members is impracticable.

           42.      Each of the classes is ascertainable because its members can be readily identified

  using records kept by JOOLA or third parties in the usual course of business and within their

  control. Plaintiff anticipates providing appropriate notice to each certified class, in compliance

  with Fed. R. Civ. P. 23(c)(1)(2)(A) and/or (B), to be approved by the Court after class certification,

  or pursuant to court order under Fed. R. Civ. P. 23(d).

                                     Predominance of Common Issues

           43.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

  because questions of law and fact that have common answers that are the same for each of the

  respective classes predominate over questions affecting only individual class members. These

  include, without limitation, the following:

                 a) Whether JOOLA knew or should have known about their “administrative error”

                    that led to the original certification of the incorrect Subject Paddles.

                 b) Whether representations by JOOLA concerning the approval of the Subject Paddles

                    by USAP constitutes a material fact that reasonable purchasers would have

                    considered in deciding whether to purchase a Subject Paddle;

                 c) Whether Defendant JOOLA omitted and failed to disclose material facts about the

                    Subject Paddles sold to class Members;

                 d) Whether Defendant JOOLA engaged in unfair, deceptive, unlawful and/or




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                  fraudulent acts or practices in trade or commerce;

               e) Whether Defendant JOOLA’s unlawful, unfair, and/or deceptive practices harmed

                  Plaintiff and the Classes; and if so, what remedies are available under those statutes;

               f) Whether Defendant’s conduct, as alleged herein, was likely to mislead a reasonable

                  consumer;

               g) Whether Defendant’s statements, concealments and omissions regarding the

                  Subject Paddles were material, in that a reasonable consumer could consider them

                  important in making purchasing decisions;

               h) Whether Defendant has been unjustly enriched by their conduct;

               i) Whether the Classes are entitled to equitable relief, including, but not limited to, a

                  preliminary and/or permanent injunction; and

               j) What aggregate amounts of statutory penalties are sufficient to punish and deter

                  Defendant and to vindicate statutory and public policy.

                                                Typicality

         44.      This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because Plaintiff’s

  claims are typical of the claims of the class members and arise from the same course of conduct

  by JOOLA. The relief Plaintiff seeks is typical of the relief sought for the absent class members.

                                        Adequate Representation

         45.      Plaintiff will fairly and adequately represent and protect the interests of the classes.

  Plaintiff has retained counsel with substantial experience in prosecuting consumer class actions

  and financial misconduct.

                                                Superiority

         46.      This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because Defendant




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  UWM has acted and refused to act on grounds generally applicable to each Class, thereby making

  appropriate final injunctive and/or corresponding declaratory relief with respect to each class as a

  whole.

           47.   This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because a class

  action is superior to other available methods for the fair and efficient adjudication of this

  controversy.   The common questions of law and of fact regarding JOOLA’s conduct and

  responsibility predominate over any questions affecting only individual class members.

           48.   Because the damages suffered by each individual class member may be relatively

  small compared to the cost of prosecuting his or her individual claims, the expense and burden of

  individual litigation would make it very difficult or impossible for individual class members to

  redress the wrongs done to each of them individually, such that most or all class members would

  have no rational economic interest in individually controlling the prosecution of specific actions,

  and the burden imposed on the judicial system by individual litigation by even a small fraction of

  the class would be enormous, making class adjudication the superior alternative under Fed. R. Civ.

  P. 23(b)(3)(A).

           49.   The conduct of this action as a class action presents far fewer management

  difficulties, far better conserves judicial resources and the parties’ resources, and far more

  effectively protects the rights of each class member than would piecemeal litigation. Compared

  to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

  individualized litigation, the challenges of managing this action as a class action are substantially

  outweighed by the benefits to the legitimate interests of the parties, the court, and the public of

  class treatment in this court, making class adjudication superior to other alternatives, under Fed.

  R. Civ. P. 23(b)(3)(D).




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          50.     Plaintiff is not aware of any obstacles likely to be encountered in the management

  of this action that would preclude its maintenance as a class action. Rule 23 provides the Court

  with authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

  reduce management challenges. The Court may, on motion of Plaintiff or on its own determination,

  certify nationwide, statewide, and/or multistate classes for claims sharing common legal questions;

  utilize the provisions of Rule 23(c)(4) to certify any particular claims, issues, or common questions

  of fact or law for class-wide adjudication; certify and adjudicate bellwether class claims; and utilize

  Rule 23(c)(5) to divide any class into subclasses.

                                       CLAIMS FOR RELIEF
                                            COUNT I
                                             FRAUD

          51.     Plaintiff incorporates by reference paragraphs 1-50 of this Complaint as though

  fully stated herein.

          52.     Plaintiff brings this claim on behalf of himself and the Nationwide Class under the

  common law of fraud, as there are no true conflicts (case-dispositive differences) among various

  states’ laws.

          53.     In the alternative, Plaintiff brings this claim under the respective laws of Florida on

  behalf of a subclass comprised of: (a) all class members who purchased a Subject Paddle from

  JOOLA in Florida, and (b) all class members who purchased a Subject Paddle in states with

  substantially similar common law of fraud.

          False Statement of Fact

          54.     JOOLA defrauded consumers by placing into a stream of commerce the Subject

  Paddles.




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         Plaintiff and Class Members Relied on the False Representation

         55.     Plaintiff and Class Members did not know that JOOLA submitted the wrong

  paddles for testing or that the Subject Paddles would ultimately be de-certified by USAP before

  they purchased the Subject Paddles and consequently Plaintiff and Class Members relied on

  JOOLA to properly submit and receive certification of the Subject Paddles.

         56.     Plaintiff and Class Members purchased the Subject Paddles in reliance on the

  representations made by JOOLA that the paddles were USAP Approved.

         57.     When Plaintiff purchased the Subject Paddles, he relied upon the USAP Approval

  as evidence that the Subject Paddles could be used in USAP sanctioned events.

         Plaintiff and Class Members Suffered Damage

         58.     By placing into a stream of commerce the Subject Paddles without obtaining proper

  USAP Approval and by fraudulently misrepresenting and omitting material facts with intent to

  deceive—as evidenced by, among other things, Defendant’s continued marketing and promotion

  of the products have having qualities that they do not have—Plaintiff and Class Members are

  trapped with a de-certified, non-approved paddle that cannot be used in sanctioned events or on

  local courts thereby creating a financial loss.

         59.     Defendant’s improper branding of the Subject Paddles with USAP Approved

  caused Plaintiff and Class Members to pay a premium for the Subject Paddles that they otherwise

  would not have paid.

         60.     Plaintiff and Class Members have suffered actual damage as a result of the

  Defendant’s willfully deceptive acts and practices.




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           WHEREFORE, Plaintiff and each Class member is entitled to recovery of all sums paid

  for the Subject Paddles, all damages allowable by law, punitive damages, and reasonable

  attorneys’ fees.

                                           COUNT II
                                      UNJUST ENRICHMENT

           61.    Plaintiff incorporates by reference paragraphs 1-50 of this Complaint as though

  fully stated herein.

           62.    Plaintiff brings this claim on behalf of himself and the Nationwide Class under the

  common law of unjust enrichment, as there are no true conflicts (case-dispositive differences)

  among various states’ laws of unjust enrichment.

           63.    In the alternative, Plaintiff brings this claim under the respective laws of Florida on

  behalf of a subclass comprised of: (a) all class members who purchased a Subject Paddle from

  JOOLA in Florida, and (b) all class members who purchased a Subject Paddle in states with

  substantially similar common law of unjust enrichment.

           64.    Plaintiff and the class have conferred direct benefits on Defendant JOOLA in the

  form of payments for the Subject Paddles and the value of increased market share, and Defendant

  has knowledge of those benefits vis-à-vis the millions of dollars reaped through sales of the Subject

  Paddles.

           65.    Such conferred benefit allowed Defendant to enrich itself to the detriment of the

  Class.

           66.    Defendant appreciated, accepted, and retained this benefit, as it earned a profit by

  virtue of its deceptive business practice.

           67.    The financial benefits derived by Defendant rightfully belong to Plaintiff and the

  class.




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         68.     It would be inequitable for Defendant to retain the payments.

         69.     Defendant should be compelled to disgorge in a common fund for the benefit of

  Plaintiffs and the class all inequitable proceeds received by them. A constructive trust should be

  imposed upon all wrongful or inequitable sums received by Defendant.

         70.     Plaintiff and Class Members have suffered damages as a result of Defendant’s

  unjust enrichment.

         WHEREFORE, Plaintiff and each Class Member is entitled to recovery of all sums paid to

  purchase a Subject Paddle, all damages allowable by law, punitive damages, and reasonable

  attorneys’ fees.

                                        COUNT III
                               BREACH OF EXPRESS WARRANTY

         71.     Plaintiff repeats and realleges each and every allegation contained in paragraphs 1-

  50 above as if fully set forth herein.

         72.     Plaintiff brings this claim on behalf of himself and the Nationwide Class under the

  common law breach of express warranty, as there are no true conflicts (case-dispositive

  differences) among various states’ laws of breach of express warranty.

         73.     In the alternative, Plaintiff brings this claim under the respective laws of Florida on

  behalf of a subclass comprised of: (a) all class members who purchased a Subject Paddle from

  JOOLA in Florida, and (b) all class members who purchased a Subject Paddle in states with

  substantially similar law regarding breach of express warranty as Florida.

         74.     JOOLA was at all relevant times a merchant and a seller of the Subject Paddles.

  When third-party online retailers sell JOOLA’s Subject Paddles, they advertise and sell them using

  the information provided directly from JOOLA, including that the Subject Paddles are USAP

  Approved, which is stated by JOOLA on the paddle itself.




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         75.     Reasonable consumers, including Plaintiff and the Class, who purchased

  professional level paddles at the price point of JOOLA’s Subject Paddles relied on the express

  representation by JOOLA that the Subject Paddles were USAP Approved.

         76.     JOOLA knew the market value of the Subject Paddles inherently depended on the

  representation and warranty regarding their USAP Approval and knew that such approval was a

  substantial part of what consumers were paying for in purchasing the products, including the

  assurance that the Paddles could be used in competition. Had consumers, including the Plaintiff,

  known that the Subject Paddles would be de-certified or not approved by USAP, consumers would

  not have purchased the Subject Paddles, a fact well-known to Defendant.

         77.     The Subject Paddles are goods, and Plaintiff and the Class members purchased the

  JOOLA paddles in a consumer transaction.

         78.     JOOLA expressly warranted to all purchasers that the Subject Paddles were USAP

  Approved by directly placing the stamp of approval on each Subject Paddle.

         79.     Plaintiff and Class Members and the Subclass, prior to making their purchases,

  relied on this express warranty that the Subject Paddles were, and would remain, USAP Approved,

  and this formed a part of the basis of the bargain, as described above.

         80.     Because JOOLA stated the USAP Approval directly on the Subject Paddles, and

  provided information about the Approval to third-party online retailers who provided it on their

  websites, JOOLA communicated directly to purchasers, including Plaintiff and the Class and

  Subclass, prior to their purchases.

         81.     As a direct and proximate result of Defendant’s conduct, Plaintiff and the Class and

  Subclass suffered injury and damages in an amount to be determined at trial.




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         WHEREFORE, Plaintiff and each Class Member is entitled to recovery of all sums paid

  to purchase a Subject Paddle, all damages allowable by law, punitive damages, and reasonable

  attorneys’ fees.

                                        COUNT IV
                               BREACH OF IMPLIED WARRANTY

         82.     Plaintiff repeats and realleges each and every allegation contained in paragraphs 1-

  50 above as if fully set forth herein.

         83.     Plaintiff brings this claim on behalf of himself and the Nationwide Class under the

  common law breach of express warranty, as there are no true conflicts (case-dispositive

  differences) among various states’ laws of breach of implied warranty. In the alternative, Plaintiff

  brings this claim under the respective laws of Florida on behalf of a subclass comprised of: (a) all

  class members who purchased a Subject Paddle from JOOLA in Florida, and (b) all class members

  who purchased a Subject Paddle in states with substantially similar law regarding breach of

  implied warranty as Florida.

         84.     JOOLA was at all relevant times a merchant and a seller of the Subject Paddles.

  When third-party online retailers sell JOOLA’s Subject Paddles, they advertise and sell them using

  the information provided directly from JOOLA, including that the Subject Paddles are USAP

  Approved, which is stated by JOOLA on the paddle itself.

         85.     Plaintiff relied on the representation by JOOLA that the Subject Paddles were

  USAP Approved. Had Plaintiff known that the Subject Paddles would be de-certified by USAP,

  he would not have purchased the Subject Paddles.

         86.     JOOLA knew the market value of the Subject Paddles inherently depended on the

  representation and warranty regarding their USAP Approval and knew that such approval was a

  substantial part of what consumers were paying for in purchasing the products, including the




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  assurance that the Paddles could be used in competition. Had consumers, including the Plaintiff,

  known that the Subject Paddles would be de-certified or not approved by USAP, consumers would

  not have purchased the Subject Paddles, a fact well-known to Defendant.

         87.     The Subject Paddles are goods and Plaintiff and the Class and Subclass members

  purchased the Subject Paddles in a consumer transaction.

         88.     The implied warranty of merchantability requires that goods be fit for the ordinary

  purposes for which goods of that type are used; have adequate labeling; and conform to any

  promises or affirmations made on any product label.

         89.     JOOLA breached its implied warranties to Plaintiff and the Class and Subclass

  because the Subject Paddles state that they are USAP Approved directly on the Subject Paddles,

  on JOOLA’s website, or on third-party online retailers’ websites based on the information

  provided to such retailers by JOOLA and, as such, were not fit for their ordinary purpose, did not

  have adequate labeling, and did not conform to the promises or affirmations made. As alleged

  above, whether the Subject Paddle is USAP Approved is significant to purchasers of pickleball

  paddles.

         90.     Defendant’s implied warranties extend to Plaintiff and the Class and Subclass

  because Defendant knew the purposes for which Plaintiff and the Class and Subclass were

  purchasing the Subject Paddles and Defendant manufactured the Subject Paddles for use in USAP

  sanctioned events.

         91.     Defendant knew that Plaintiff and the Class and Subclass were making such

  purchases based upon, among other things, approval by USAP.

         92.     Because JOOLA stated the USAP Approval directly on the Subject Paddles or on

  its own website, or provided information about the USAP Approval to third-party online retailers




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  who provided it on their websites, JOOLA communicated directly to purchasers, including

  Plaintiff and Class Members and the Subclass, prior to their purchases.

          93.     Defendant knew that consumers, including Plaintiff, the Class, and the Subclass,

  were the ultimate consumers and the targets of the third-party online retailers, who were authorized

  to sell its Subject Paddles, and intended consumers to rely on the representations as to approval of

  the Subject Paddles and they were thus the intended beneficiaries of the implied warranties.

          94.     Plaintiff relied on the representations of JOOLA as to the continued approval of the

  Subject Paddles. Had Plaintiff known that the Subject Paddles would, or could, be de-certified, he

  would not have purchased the Subject Paddles.

          95.     Plaintiff and the Class and Subclass did not receive Subject Paddles as represented

  to them either directly by JOOLA or through third-party retailers based on USAP Approval

  because the Subject Paddles were never approved by USAP and thus were not fit for their ordinary

  purpose, i.e., the particular purpose for which they were sold.

          96.     Thus, Defendant breached its implied warranties to Plaintiff and the Class and

  Subclass. As a direct and proximate result of such breach of implied warranties by Defendant,

  Plaintiff and Class Members and the Subclass suffered actual monetary damages.

          WHEREFORE, Plaintiff and each Class Member is entitled to recovery of all sums paid to

  purchase a Subject Paddle, all damages allowable by law, punitive damages, and reasonable

  attorneys’ fees.

                                             COUNT V
                                           NEGLIGENCE

          97.     Plaintiff incorporates by reference paragraphs 1-50 of this Complaint as though

  fully stated herein.

          98.     Plaintiff brings this claim on behalf of himself and the Nationwide Class.




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         99.     Plaintiff brings this claim on behalf of himself and the Nationwide Class under the

  common law of negligence, as there are no true conflicts (case-dispositive differences) among

  various states’ laws of negligence.

         100.    In the alternative, Plaintiff brings this claim under the respective laws of Florida on

  behalf of a subclass comprised of: (a) all class members who purchased a Subject Paddle from

  JOOLA in Florida, and (b) all class members who purchased a Subject Paddle in states with

  substantially similar common law of negligence.

         101.    At all times material hereto, Defendant, JOOLA, had the duty to use reasonable

  care to ensure that the correct paddle was provided to USAP as the governing body of pickleball

  paddle for testing.

         102.    Furthermore, Defendant, JOOLA, had the duty to ensure that the paddle approved

  by USAP was in fact the same paddle that JOOLA stamped as USAP Approved, mass

  manufactured, sold into the chain of commerce, and used by consumers.

         103.    Defendant, JOOLA, had a duty to ensure that their consumers could rely on the

  implied and express representations that they made regarding USAP Approval when selecting,

  purchasing, and using the Subject Paddles in practice and competition.

         104.    Defendant, JOOLA, is liable, directly, vicariously or otherwise, for the negligence

  of its agents, employees, independent contractors, and representatives in providing the wrong

  paddles to USAP for testing and approval.

         105.    At all times material hereto, Defendant, JOOLA, through its agents, servants, and

  employees, knew or in the exercise of reasonable care should have known that it provided

  seventeen (17) incorrect paddles to USAP for approval.

         106.    Defendant, JOOLA, through its agents, servants, and employees, knew or in the




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  exercise of reasonable care should have known that it mass manufactured and sold into the stream

  of commerce nine (9) of the Subject Paddles with a USAP Approval stamp despite the fact that

  different paddles were submitted to USAP to obtain the approval.

         107.    Defendant, JOOLA, through its agents, servants and employees, breached its duty

  to Plaintiff and Class Members, and acted in a careless and negligent manner through one or more

  of the following acts of omission or commission:

             a. Failing to provide the exact same paddles they planned to sell for testing to USAP;

             b. Stamping the Subject Paddles as USAP Approved despite having submitted
                different paddles for testing and approval; and

             c. Committing an “Administrative Error” that resulted in USAP approving paddles
                other than those Defendant JOOLA ultimately entered into the stream of commerce;

             d. Additional acts of negligence not yet discovered.

         108.    By publicly admitting the “Administrative Error” Defendant JOOLA has admitted

  to its negligence causing the injury claimed herein.

         109.    The negligence of Defendant proximately caused injury to Plaintiff and Class

  Members who cannot use the Subject Paddles in practice or competition.

         110.    As a direct and proximate result of the negligence of JOOLA, Plaintiff and Class

  Members have been harmed.

         WHEREFORE, Plaintiff and each Class Member is entitled to recovery of all sums paid to

  purchase a Subject Paddle, all damages allowable by law, punitive damages, and reasonable

  attorneys’ fees.

                                        COUNT VI
                          VIOLATION OF FLORIDA DECEPTIVE
                     AND UNFAIR TRADE PRACTICES ACT (“FDUTPA”)
                                Fla. Stat. § 501.203, et seq.

         111.    Plaintiff repeats and realleges each and every allegation contained in paragraphs




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  1-49 above as if fully set forth herein.

         112.    Plaintiff brings this claim under laws of Florida on behalf of a subclass comprised

  of all class members who purchased a Subject Paddle in: (a) Florida, and (b) all states with

  substantially similar consumer protection statutes prohibiting unfair and deceptive trade practices.

         113.    In the alternative, Plaintiff brings this claim on behalf of a subclass of only those

  whose claims arise under Florida law.

         114.    Defendant violated the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat.

  § 501.204, et seq., by engaging in “[u]nfair methods of competition, unconscionable acts or

  practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce.”

         115.    Defendant’s scheme constitutes both an unfair act or practice, and a deceptive act

  or practice, which offends established public policy and is substantially injurious to consumers.

         116.    Defendant made millions of dollars by deceiving Plaintiff and the class, exploiting

  USAP’s power and position, and causing Plaintiff and the class to be deceived.

         117.    As the intended and inevitable result of Defendant’s conduct, Plaintiff and the class

  were subjected to material omissions and non-disclosures from their JOOLA.

         118.    Defendant failed to disclose, actively concealed, and affirmatively mislead Plaintiff

  and the class about the lack of proper approval of the Subject Paddles by USAP, and represented

  the products to be something material different from what they were with the intent of causing

  Plaintiff and the Class to purchase the JOOLA.

         119.    Defendant’s misrepresentations and material omissions were likely to deceive a

  reasonable person under the circumstances, and Defendant knew this.

         120.    Defendant owed a duty to disclose the true facts about USAP Approval because

  JOOLA: (a) possessed exclusive knowledge that the wrong paddles were submitted to USAP for




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  certification testing; (b) concealed the foregoing from Plaintiff and the class; and (c) made

  incomplete representations while purposefully withholding material facts that contradicted these

  representations.

         121.    But for the misrepresentations and unscrupulous conduct, Plaintiff and the class

  would not have purchased the Subject Paddles.

         122.    The injury to Plaintiff and the class is not outweighed by any off-setting consumer

  or competitive benefits, and the injury is one which consumers could not reasonably have avoided.

         123.    The approval of the Subject Paddles by USAP would be material to a reasonable

  person and would likely affect his or her choice with respect to purchasing a Subject Paddle.

         124.    Based on the foregoing, Defendant’s actions caused or are likely to cause

  substantial injury to persons that they cannot reasonably avoid themselves, and that is not

  outweighed by countervailing benefits to persons or competition.

         125.    Defendant’s actions have offended established public policy and are unethical,

  oppressive, unscrupulous, or substantially injurious to persons. As a result, Defendant has engaged

  in unfair acts or practices in violation of FDUTPA.

         126.    Defendant’s practices, as described above, constitute an “unfair,” “deceptive,” or

  “unconscionable” act or practice in violation of Fla. Stat. § 501.204(1).

         127.    As a result of Defendant’s unfair, deceptive, or unconscionable practices, Plaintiff

  and Class Members have been aggrieved and have suffered, or will suffer, actual damages.

         128.    In addition to their actual monetary damages, Plaintiff and Class Members are also

  entitled, pursuant to Fla. Stat. § 501.211(1), to the following non-monetary relief:

                 a. A permanent injunction to prevent Defendant from continuing to engage in

                     these unlawful practices; and




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                 b. A declaratory judgment that Defendant’s above-mentioned conduct violates the

                     FDUTPA.

         WHEREFORE, Plaintiff and Class Members are entitled to actual damages, declaratory

  and injunctive relief, and all other relief allowable under FDUTPA, including the recovery of costs

  and reasonable attorneys’ fees in pursuing these claims.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, both individually and on behalf of the Nationwide Class and

  State/Mutli-State Subclasses, demand a trial by jury on all claims so triable, and respectfully

  request that the Court: (i) certify the proposed Nationwide and State Classes, (ii) designate the

  named Plaintiffs as representatives of the Nationwide Class and their respective State/Multi-State

  Subclasses, (iii) appoint the undersigned as Class Counsel, (iv) designate any appropriate issue

  classes under the applicable provisions of Federal Rule of Civil Procedure 23, and (v) enter

  judgment in Plaintiff’s favor against Defendants including the following relief:

         A. Compensatory damages and costs for economic loss;

         B. Restitution and disgorgement of all profits, direct or indirect, illegally obtained;

         C. Equitable and injunctive relief, as permitted by law or equity;

         D. Statutory damages, treble damages, and penalties;

         E. Punitive and exemplary damages as permitted by law;

         F. A determination that Defendant is financially responsible for all Class notices and the
            administration of Class relief;

         G. An award of Plaintiff’s attorneys’ fees, costs, and expenses in this action to the
            maximum extent permitted by law;

         H. An award of pre-judgment and post-judgment interest to the maximum extent permitted
            by law; and

         I. Such other and further relief as the Court deems just and proper.




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                                   DEMAND FOR JURY TRIAL

          Plaintiff, on behalf of himself and all others similarly situated, hereby demands a trial by

  jury of all issues so triable.

  Dated: June 5, 2024

                                                        Respectfully Submitted,

                                                        Edwards Henderson

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